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Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                   )
    In re:                                                         )   Chapter 7
                                                                   )
    HIGHLAND SELECT EQUITY MASTER FUND,                            )   Case No. 23-31037-swe7
    L.P., 1                                                        )
                                                                   )
                                     Debtor.                       )

                               NOTICE OF HEARING
 ON EMERGENCY MOTION IN LIMINE OF HIGHLAND CAPITAL MANAGEMENT,
  L.P. TO (I) EXCLUDE RECUSAL EVIDENCE AND ARGUMENT IN CONNECTION
    WITH DEBTORS’ MOTION TO TRANSFER CASE TO DALLAS DIVISIONAL
           OFFICE, OR, (II) IN THE ALTERNATIVE, ADJOURN HEARING

             PLEASE TAKE NOTICE that the following matter is scheduled for hearing on

Wednesday, October 18, 2023, at 10:30 a.m. (Central Time) (the “Hearing”) in the above-

captioned bankruptcy case (the “Bankruptcy Case”):



1
  The Debtor’s last four digits of its taxpayer identification number are (0466). The headquarters and service address
for the Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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       1.        Emergency Motion in Limine of Highland Capital Management, L.P. to (i) Exclude
                 Recusal Evidence and Argument in Connection with Debtors’ Motion to Transfer
                 Case to Dallas Divisional Office, or, (ii) in the Alternative, Adjourn Hearing [Docket
                 No. 51] (the “Motion”).

       The Hearing on the Motion will be held via WebEx videoconference before The Honorable

Scott W. Everett, United States Bankruptcy Judge. The WebEx video participation/attendance link

for the Hearing is: https://us-courts.webex.com/meet/everett.

       A copy of the WebEx Hearing Instructions for the Hearing is attached hereto as Exhibit A;

alternatively, the WebEx Hearing Instructions for the Hearing may be obtained from Judge Everett’s

hearing/calendar site at: https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-everetts-

hearing-dates.

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 Dated: October 17, 2023              PACHULSKI STANG ZIEHL & JONES LLP

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                                      -and-

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                                 EXHIBIT A
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                                  WebEx Hearing Instructions
                                         Judge Scott W. Everett
Pursuant to General Order 2023-05 issued by the Court on September 19, 2023, hearings before Judge Scott W.
Everett will be conducted pursuant to the guidelines set forth in the General Order unless ordered otherwise.

For WebEx Video Participation/Attendance:
Link:   https://us-courts.webex.com/meet/everett

For WebEx Telephonic Only Participation/Attendance:
Dial-In: 1-650-479-3207; Access code: 476 420 189

Participation/Attendance Requirements:
•       Counsel and other parties in interest who plan to actively participate in the hearing are encouraged to
        attend the hearing in the WebEx video mode using the WebEx video link above. Counsel and other
        parties in interest who will not be seeking to introduce any evidence at the hearing and who wish to
        attend the hearing in a telephonic only mode may attend the hearing in the WebEx telephonic-only
        mode using the WebEx dial-in and access code above.
•       Attendees should join the WebEx hearing at least 10 minutes prior to the hearing start time. Please be
        advised that a hearing may already be in progress. During hearings, participants are required to keep
        their lines on mute at all times that they are not addressing the Court or otherwise actively
        participating in the hearing. The Court reserves the right to disconnect or place on permanent
        mute any attendee that causes any disruption to the proceedings. For general information and tips
        with respect to WebEx participation and attendance, please see Clerk’s Notice 20-04:
        https://www.txnb.uscourts.gov/sites/txnb/files/hearings/Webex%20Information%20and%20Tips_0.pdf
•       Witnesses are required to attend the hearing in the WebEx video mode, and live testimony will
        only be accepted from witnesses who have the WebEx video function activated. Telephonic
        testimony without accompanying video will not be accepted by the Court. The Court may consider
        special requests for other appearance options on a case-by case-basis.
•       All WebEx hearing attendees are required to comply with Judge Everett’s Telephonic and
        Videoconference Hearing Policy (included within Judge Everett’s Judge-Specific Guidelines):
        https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-everetts-hearing-dates .

Exhibit Requirements:
•       Any party intending to introduce documentary evidence at the hearing must file an exhibit list in the
        case with a true and correct copy of each designated exhibit filed as a separate, individual attachment
        thereto so that the Court and all participants have ready access to all designated exhibits.
•       In addition for evidentiary hearings, when more than ten exhibits have been filed in ECF or when the
        total page count of all exhibits exceeds 500 pages, Judge Everett requests a thumb/USB drive be
        delivered to him prior to the hearing at: U.S. Bankruptcy Court, Attn: Stephen Manz, 1100 Commerce
        Street, Room 1254, Dallas, TX 75242.
•       Paper copies of exhibits are not encouraged; however, paper copies may be provided to the
        witness(s) at an in-person hearing if preferred.

Notice of Hearing Content and Filing Requirements:
IMPORTANT: For all hearings that will be conducted by WebEx only:
•       The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice that
        the hearing will be conducted by WebEx videoconference only, (2) provide notice of the aboveWebEx
        video participation/attendance link, and (3) attach a copy of these WebEx Hearing Instructions or
        provide notice that they may be obtained from Judge Everett’s hearing/calendar site:
        https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-everetts-hearing-dates .
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•       When electronically filing the Notice of Hearing via CM/ECF select “at https://us-
        courts.webex.com/meet/everett” as the location of the hearing (note: this option appears immediately
        after the first set of Wichita Falls locations). Do not select Judge Everett’s Dallas courtroom as the
        location for the hearing.

     CONNECTION INSTRUCTIONS FOR PARTICIPATING IN A WEBEX VIRTUAL HEARING
    The court will allow participation in a virtual hearing using either of the following two methods. Please
    connect at least 10 minutes prior to the hearing time. It is recommended that attorneys discuss the logistics
    of the WebEx appearance with their clients/witnesses at least 48 hours before the hearing.
    Option 1: Using the WebEx app on your smartphone, tablet, laptop, or desktop.
    Please connect using only one device. Using two or more devices may cause audio feedback issues.
    If using a phone or tablet for video, it should be set in a stationary position. Holding a phone or tablet in
    your hand while speaking does not yield a good video for the court.
    NOTE: If you are experiencing audio issues when using the WebEx application, you may use the “Call
    Me At” selection under “Audio Connection” to move just the audio portion of the WebEx conference to
    your telephone.
    Option 2: Call in via phone (audio only).
    Webex dial-in number: 1-650-479-3207 (access code: 476 420 189).

    HELPFUL HINTS AND ETIQUETTE

    •   Please use the mute function when you are not speaking. Please be aware that sometimes the court
        mutes everyone when there is background noise. When you want to speak, make sure you are not on
        mute. Call-in users should dial *6 to unmute your line.

    •   Remember to state your name for the record each time before speaking and speak slowly and clearly
        so the Court can get a good record.

    •   Use headphones whenever possible, especially if using a desktop PC with external speakers. We have
        foundthat newer iPhones provide the best visual and audio feed – better than most desktop computers.
        If you are on a personal computer, headphones or earbuds are required for those who need to speak
        during the hearing.

    •   During examination, attorneys and witnesses should use a separate camera and microphone when
        possible. To avoid feedback, parties using separate devices must not be in the same room. The Court
        may consider special requests on a case-by-case basis.
    •   WebEx participants may use the "share" button to easily share their screen or document with the
        Court or other WebEx participants. Press “stop sharing” to remove the presentation from the meeting.

    •   When making an appearance from a vehicle, please park in a safe location with windows rolled up (to
        minimize background distraction and noise) and use a headset that is ear-to-phone (not the vehicle’s
        hands-free speaker-phone option).

    •   Suggestions for participating in a WebEx hearing from home: If you are having connectivity
        problems, turn off devices that may be using bandwidth on your home network. Devices or
        applications such as Facetime, Roku, streaming media players, video games, or large downloads can
        negatively impact the audio and video quality of the WebEx meeting.

    •   Participants are reminded that they should wear attire suitable for court.

    •   Participants who wish to test their WebEx connection or the share screen functionality in advance of
        the hearing may arrange a “practice run” by contacting the courtroom deputy.
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Exhibits should be filed ahead of time by the date that they would normally be exchanged pursuant to our
local rules using the "list (witness/exhibit/generic)" OR "notice (generic)” OR “Support/Supplemental
document” event in ECF.
Demonstrative aids and Power Points should also be filed prior to the hearing, if possible. If not, WebEx
has the ability to allow you to share your screen, or a particular document, with everyone in the hearing. If
these documents are admitted as exhibits, they would then have to be filed after the hearing.
  •   During the hearing, lawyers can refer to (and offer) their exhibits by referencing the exhibit’s
      docket number for the court and all to access. After the hearing, the court will create a Minute
      Entry reflecting which exhibits were admitted. You should consider emailing exhibits to witnesses
      ahead of time since theymay not have access to PACER.
  •   In addition for evidentiary hearings, when more than ten exhibits have been filed in
      ECF or when the total page count of all exhibits exceeds 500 pages, Judge Everett
      requests a thumb/USB drive be delivered to him prior to the hearing at: U.S.
      Bankruptcy Court, Attn: Stephen Manz, 1100 Commerce Street, Room 1254, Dallas,
      TX 75242.
  •   Paper copies of exhibits are not encouraged; however, paper copies may be
      provided to the witness(s) at an in-person hearing if preferred.
